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                                                                                3/18/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY (JP7140)
    COZEN O’CONNOR
    LibertyView, Suite 300
    457 Haddonfield Road
    Cherry Hill, NJ 08002
    (856) 910-5000
    Proposed Attorneys for the Debtors

    In re:                                                 Case No. 08-14631
    SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                           Judge: Gloria M. Burns
                    Debtors.
                                             Chapter: 11
    ORDER PURSUANT TO SECTIONS 105(A), 362, 503(b) AND 507 THE BANKRUPTCY
     CODE (I) CONFIRMING THE GRANT OF ADMINISTRATIVE EXPENSE STATUS
    TO OBLIGATIONS ARISING FROM THE POSTPETITION DELIVERY OF GOODS,
        (II) ESTABLISHING AUTHORITY TO PAY CERTAIN EXPENSES IN THE
      ORDINARY COURSE OF BUSINESS AND (III) PROHIBITING THIRD PARTIES
      FROM INTERFERING WITH THE DELIVERY OF GOODS TO THE DEBTORS

             The relief set forth on the following page, numbered two (2) is hereby ORDERED.




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Arch/Shapes Holdings L.L.C., et al.

Case No. 08-

Order Pursuant to Sections 105(a), 362, 503(b) and 507 of the Bankruptcy Code (I) Confirming the Grant of
Administrative Expense Status to Obligations Arising from the Postpetition Delivery of Goods, (II) Establishing
Authority to Pay Certain Expenses in the Ordinary Course of Business and (III) Prohibiting Third Parties from
Interfering with the Delivery of Goods to the Debtors


         Upon consideration the verified motion (the “Motion”)1 of the above-captioned debtors

and debtors-in-possession (the “Debtors”), for an order pursuant to sections 105(a), 362, 503(b)

and 507 of the Bankruptcy Code (i) confirming the grant of administrative expense status to

obligations arising from the postpetition delivery of goods, (ii) establishing authority to pay

certain expenses in the ordinary course of business and (iii) prohibiting third parties from

interfering with the delivery of goods to the Debtors; and notice being sufficient under the

circumstances; and such relief being necessary to assure that operation of Debtors’ businesses

will not be disrupted and that their value as a going-concern will not be impaired, it is

ORDERED:

         1.      That the Motion is GRANTED;

         2.      That the Debtors’ Vendors are entitled to administrative expense treatment under

section 503(b) of the Bankruptcy Code for those undisputed obligations arising from the

Outstanding Orders relating to Goods received and accepted by the Debtors on or after the

Petition Date;

         3.      That the Debtors are authorizing to pay for such Goods in the ordinary course of

their businesses;

         4.      That pursuant to sections 105 and 362 of the Bankruptcy Code, third parties are

stayed or prohibited from interfering with the delivery of Goods to the Debtors.

         5. Nothing contained herein shall affect any parties' rights under Section 546 of the Bankrupcty Code.
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1
  Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them
in the Motion.
                                                         2



                                                                    Approved by Judge Gloria M. Burns March 18, 2008
